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 3
                              UNITED STATES DISTRICT COURT
 4
                                    DISTRICT OF NEVADA
 5
                                              ***
 6                                            )
     UNITED STATES OF AMERICA,                )
 7                                            )
                     Plaintiff,               )
 8                                            )
     v.                                       )        2:11-cr-00327-PMP-CWH
 9                                            )
     ANGEL SESTEAGA,                          )        ORDER
10                                            )
                     Defendant.               )
11                                            )
12            Having read and considered Defendant Angel Sesteaga’s Motion for
13   Resentencing (Doc. #152), and the Government’s Response thereto (Doc. #153),
14            IT IS ORDERED that Defendant Angel Sesteaga’s Motion for Resentencing
15   (Doc. #152) is DENIED.
16

17   DATED: August 26, 2014
18                                       _______________________________
                                         PHILIP M. PRO
19                                       United States District Judge
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